IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
Civil Action No. 1:19-cev-358

MAJOR BOYD WHITLEY )
)
Plaintiff, } PROPOSED ORDER.
} EXTENDED TIME
) TO ANSWER
SHERIFF VAN SHAW, et al., )
)
Defendants. )
)

 

PROPOSED ORDER FOR EXTENSION OF TIME TO
ANSWER OR OTHER WISE RESPOND

The defendants’ motion to extend time to answer is hereby granted and the defendants shall file an answer
or responsive pleading by August » 2019

 

Clerk, United States District Court

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